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                       IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLUMBIA

                                              :
JAMES BLASSINGAME                             :
                                              :
and                                           :
                                              :
SIDNEY HEMBY                                  :
                                              :
Plaintiffs,                                   :
                                              :
v.                                            :          Case No.: 1:21-cv-858-APM
                                              :          Judge Amit P. Mehta
DONALD J. TRUMP                               :
                                              :
Defendant.                                    :


                                   AMENDED COMPLAINT

1.      This is a complaint for damages by U.S. Capitol Police officers for physical and

        emotional injuries caused by Defendant Donald Trump’s wrongful conduct inciting a riot

        on January 6, 2021, by his followers trying to overturn the results of the 2020 presidential

        election.

        I.       THE PARTIES

2.      The Plaintiffs James Blassingame and Sidney Hemby are United States Capitol Police

        officers. They are both residents and citizens of Maryland. The Defendant Donald J.

        Trump was the 45th President of the United States, from January 20, 2017, to January 20,

        2021. He is a resident and citizen of Florida.

        II.      JURISDICTION AND VENUE

3.      This Court has jurisdiction under 28 U.S.C. § 1332(a)(1) because the parties are of

        diverse citizenship. The amount in controversy exceeds $75,000, not counting interest

        and costs.
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4.    This Court has jurisdiction under 28 U.S.C. § 1331 because Plaintiffs assert claims under

      42 U.S.C. § 1985(1).

5.    This Court has supplemental jurisdiction over Plaintiffs’ non-federal law claims under 28

      U.S.C. § 1367.

6.    Venue is proper in this judicial district pursuant to 28 U.S.C. §1391(b)(2) because most

      of the events giving rise to the claims occurred in the District of Columbia.

      III.   FACTUAL BACKGROUND

             A.        Introduction

7.    PFC James Blassingame is a 17-year veteran of the United States Capitol Police (USCP).

      PFC Sidney Hemby is an 11-year veteran of the USCP.

8.    Both United States Capitol Police Officers reported for duty on January 6, 2021, without

      any suspicion that they would soon become the targets of Trump’s followers. Those

      followers had assembled in Washington at Trump’s calling for a rally at the White House

      Ellipse that quickly evolved into a violent insurrection at the Capitol.

9.    The insurrectionists were spurred on by Trump’s conduct over many months in getting

      his followers to believe his false allegation that he was about to be forced out of the

      White House because of massive election fraud by his presidential adversary Joe Biden,

      and that the convening of Congress on January 6 to count the Electoral College results

      and declare the winner was their last chance to “stop the steal.”

10.   The insurrectionist mob, which Trump had inflamed, encouraged, incited, directed, and

      aided and abetted, forced its way over and past the Plaintiffs and their fellow officers,

      pursuing and attacking them inside and outside the United States Capitol, and causing the

      injuries complained of herein.



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11.   As a result of Trump’s speech on January 6th, 2021, his conduct and statements leading

      up to and on that date, and his refusal on that date to tell his followers to stop their

      continued violence at the Capitol, Trump engaged in unlawful conduct that resulted in

      injuries to United States Capitol Police officers and Metropolitan Police Department

      officers, including the Plaintiffs. These legal violations include:

      ●    Directing Assault and Battery
      ●    Aiding and Abetting Assault and Battery
      ●    Directing Intentional Infliction of Emotional Distress
      ●    Liability Per Se for Violation of D.C. Code § 22-1322 – Inciting to Riot
      ●    Liability Per Se for Violation of D.C. Code § 22-1321 – Disorderly Conduct
      ●    Conspiracy in Violation of 42 U.S.C. § 1985
      ●    Civil Conspiracy

              B.      Trump’s Conduct Leading Up To the 2020 Presidential Election

12.   During his 2016 campaign, and throughout his presidency, Trump had threatened

      violence towards his opponents, encouraged his followers to commit acts of violence, and

      condoned acts of violence by his followers, including white supremacists and far right-

      wing hate groups.

13.   Trump’s stoking of violence by his followers accelerated during the 2020 presidential

      campaign. During the first presidential debate between candidates Trump and Biden, held

      on September 29, 2020, Trump repeatedly asserted, without evidence, that the election

      would be fraudulent and rigged:

      ● “There’s fraud. They found them [ballots] in creeks. They found some, just happened
        to have the name Trump just the other day in a wastepaper basket . . . . This is going
        to be a fraud like you’ve never seen;”

      ● “It’s a rigged election;”

      ● “This is not going to end well.”




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14.   Asked during that first presidential debate by moderator Chris Wallace to condemn white

      supremacists and far right-wing hate groups, Trump responded, “Proud Boys, stand back

      and stand by.” Minutes later, the Chairman of the Proud Boys, Enrique Tarrio, posted a

      message on Parler, a social networking service popular among extremist groups, saying,

      “Standing by sir.” The Proud Boys were then standing by on January 6, when they

      coordinated, instigated, and led many of the most pivotal actions of the rioters’ rush into

      the Capitol Building. At a morning meeting before the Capitol was stormed, Proud Boy

      Daniel Scott aka Milkshake shouted, “Let’s take the fucking Capitol.”

15.   At the first presidential debate, Wallace asked if Trump—whom the Constitution

      excluded from any official role in the counting of ballots, the counting of electoral votes,

      or the certification of the election, but who had tremendous sway as a candidate over the

      conduct of his supporters—would urge his supporters to “stay calm” following the

      election, and “not to engage in any civil unrest.” Trump responded, “If it’s a fair election

      I am 100% on board. But if I see tens of thousands of ballots being manipulated, I can’t

      go along with that.” When Wallace then asked if that meant he was going to “tell your

      people to take to the streets,” Trump did not directly respond, but said, “They

      [Democrats] cheat. They cheat. Hey, they found ballots in a wastepaper basket three days

      ago, and they all had the name military ballots. There were military. They all had the

      name Trump on them.” Trump never provided any real evidence to support his claims

      that Democrats were throwing out ballots that had been cast for him.

16.   In the days leading up to the election, Trump repeated his assertion that his adversaries

      were “trying to steal” the election, which prepared his followers for more such baseless

      assertions once the election was over.



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             C.      Trump Lost the 2020 Presidential Election and Immediately Stepped
                     Up His False Claims of a Stolen Election

17.   On the night of the election, at 2:30 a.m. on November 4, in a small rally held at the

      White House, Trump claimed that he had won the election, even though hundreds of

      thousands of votes in key swing states were still being counted. As more votes were

      counted, particularly from high-population areas, it became increasingly apparent that Joe

      Biden had won the election. This prompted Trump to begin repeatedly tweeting that the

      election was being stolen:




18.   These tweets and related statements, while taking advantage of Trump’s platform as

      President and his ability to incite his followers, were issued in Trump’s personal capacity

      as a candidate for elected office.

19.   On November 5, Trump made a statement, “If you count the legal votes, I easily win. If

      you count the illegal votes, they can try to steal the election from us.”




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20.   On Saturday, November 7, every major news organization in the country called the

      election for Joe Biden after the count in Pennsylvania showed he held an insurmountable

      lead.

              D.     Trump Called for a “Wild” Protest on January 6, 2021, and His
                     Followers Took His Words as a Call to Arms

21.   In the weeks following the election, as several states began recounts, Trump continued

      claiming that the election was being stolen, despite offering no evidence that was found

      meritorious by any of the dozens of courts that considered his and his allies’ post-election

      lawsuits.

22.   Trump’s claims of fraud immediately following the election led to his followers, often

      armed, descending on state capitols and other government buildings throughout the

      country. Between the election on November 3, 2020, and January 6, 2021, there were

      dozens of protests around the country by Trump’s followers. Two of these events

      occurred in the nation’s capital, and at both police officers were injured trying to restrain

      Trump’s followers. Trump knew that both events had turned violent.

23.   Trump promoted a rally planned for November 14, 2020, in Washington, D.C.:




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24.   On November 14, 2020, Trump followers gathered at Freedom Plaza in Washington,

      D.C., a few blocks from the White House, in what would be called the first “Million

      MAGA March” (though it was estimated that the crowd numbered in the tens of

      thousands). These included members of far right-wing hate groups, including the Proud

      Boys, Three Percenters, Oath Keepers, and followers of the QAnon conspiracy theory.

25.   November 14, 2020, Trump issued numerous tweets about the election being stolen,

      while tweeting his support for the rally. He also pushed the idea that rallies like this one

      might result in him “winning” the election:




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26.   Later in the evening on November 14, violence erupted, as four police officers were

      injured and over twenty-one arrests were made, including destruction of property,

      carrying a pistol without a license, inciting violence, and disorderly conduct.

27.   On December 12, 2020, Trump followers again gathered in Washington, D.C., for a

      second “Million MAGA March,” (though again, the actual number of Trump followers

      who attended was in the thousands). Again, Trump supported the rally, tweeting on the

      morning of December 12, “WE HAVE JUST BEGUN TO FIGHT!!!”



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28.   As before, members of far right-wing hate groups appeared at the second “Million

      MAGA March,” and Trump followers clashed with D.C. police, at least eight of whom

      were injured. Four people were stabbed. The police made over thirty arrests including ten

      arrests for assault on a police officer, eleven arrests for simple assault, one arrest for

      assault with a deadly weapon, and two arrests for possession of a prohibited weapon.

29.   Officials warned Trump that his incendiary rhetoric about the election could cause injury

      or death, but he persisted. On December 1, 2020, as Trump placed increasing pressure on

      Georgia election officials to overturn the state’s results which favored Joe Biden, one

      official, Gabriel Sterling, gave a press conference in which he reported on death threats

      made to Georgia election workers, and addressed Trump, saying, “Mr. President, you

      have not condemned these actions . . . . This has to stop . . . . Stop inspiring people to

      commit potential acts of violence. Someone is going to get shot, someone is going to get

      killed. And it’s not right.” Despite this, Trump never condemned the threats made against

      Georgia election officials, and four days before the January 6 insurrection, he implored

      Georgia Secretary of State Brad Raffensperger during a phone call to throw out enough

      lawfully cast votes to swing the election in his favor.

30.   As his efforts with state officials and in the courts failed, Trump began to focus on

      January 6, 2021, the date Congress was set to count the state-certified election results.

31.   On December 15, 2020, the Trump campaign made payments to Event Strategies Inc., the

      firm that would be named as the production vendor on the permit application for the

      January 6 rally on the Ellipse.

32.   On December 19, 2020, Trump began promoting a January 6 rally to his followers:




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33.   Trump’s December 19th tweet about the January 6th rally was understood by many of his

      supporters as a literal call to arms. For example, within minutes of Trump posting this

      tweet, it was shared on a pro-Trump website called TheDonald.win, with the title:

      “Trump Tweet. Daddy Says Be in DC on Jan 6.” One user “EvilGuy,” said, in response

      to Trump’s call to action, “I will be open carrying and so will my friends. We have been

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      waiting for Trump to say the word. There is [sic] not enough cops in DC to stop what is

      coming.”




34.   Other users on TheDonald.win commented that they understood Trump’s tweet to be

      “marching orders.” One user said, “doesn’t matter if they steal the election, if patriots

      burst into the building by the thousands and cut the heads off the hydra.” Another said,

      “Storm the People’s House and retake from the fuckin’ commies.” A user called

      “loveshock” wrote:




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35.   Law enforcement investigations have uncovered communications from Kelly Meggs, the

      self-described leader of the Florida chapter of the Oath Keepers, revealing that within

      days, supporters—based on Defendant Trump’s call that the rally will be wild—began

      plotting traveling to Washington D.C. “to insurrection.” Contemporaneous

      communications from Meggs indicated he knew the January 6 event would be no mere

      “rally,” and that the Proud Boys, Oath Keepers, and other militia members were

      discussing how to, as described by Meggs, “work together and shut this shit down.”

36.   In the week before January 6, Trump repeatedly encouraged his followers to attend the

      event and continually referred to “Stop the Steal.”




37.   Law enforcement investigations have uncovered location, cellular, and call record data

      indicating that in the days just before the January 6 insurrection, a member of the Proud

      Boys was in communication with a person associated with the White House.

38.   The day before the January 6 session of Congress, Trump gave his followers further

      motivation to “be wild” at the rally, as he promoted the baseless idea that Vice President


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Mike Pence could single-handedly reject the election outcome based on false claims that

some states wanted to “decertify” or “correct” election results that were not in Trump’s

favor.




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39.   Trump’s 2020 campaign, along with its joint fundraising committees, made more than

      $3.5 million in direct payments to people and firms involved in the Washington, D.C.

      demonstrations on January 6.

40.   Trump’s continued campaign to incite his followers to violently overturn the results of

      the election reflected the fact that under the U.S. Constitution, the President’s official

      responsibilities do not include determining the outcome of a presidential election. All his

      conduct inciting his followers was conducted in his personal capacity as a candidate for

      elected office, not in any official capacity as President.

41.   The Constitution prescribes that the selection of electors shall be determined by “each

      state.” U.S. Const. art. II, sec. 1, cl. 2. The Constitution prescribes no role for the sitting

      president in their selection.

42.   The selection of the next president is made by the electors when they “meet in their

      respective states and vote by ballot for President and Vice-President.” U.S. Const.,




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      amend. XII. The Constitution prescribes no role for the sitting president in determining

      the outcome of that vote.

43.   The Framers were so committed to excluding the sitting president from a role in the

      selection of the next president that they prohibited electors from holding an Office of

      Trust or Profit under the United States, U.S. Const. art. II, sec. 1, cl. 2, lest those electors

      otherwise “be suspected of too great devotion to the President in office.” The Federalist

      No. 68 (Alexander Hamilton).

44.   The Constitution prescribes that the counting of the votes that are cast and certified by the

      Electors in their respective states shall be conducted by the President of the Senate in the

      presence of the Senate and House of Representatives. The Constitution prescribes no role

      for the sitting president in determining the outcome of that count either.

              E.      January 6, 2021

45.   On January 6, 2021, thousands of Trump’s followers congregated on the National Mall

      near the White House. Many were armed members of far right-wing hate organizations

      like the Proud Boys. Trump issued a directive for Republicans to “FIGHT” early in the

      day:




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46.   United States Capitol Police Officer PFC James Blassingame reported to work at 5:30

      a.m., but on the way to the Capitol, he could see that this was different from the many

      protests he had seen at the Capitol over his years in service.

47.   At 5:15 a.m., he could see large numbers of people walking up D Street, carrying flags

      bearing symbols and slogans including “MAGA” slogans, “Trump 2020,” and “Don’t

      Tread on Me.”

48.   Ordinarily, US Capitol Police shifts began with “roll call,” to disseminate information

      from the command staff. On January 6, 2021, Officer Blassingame’s shift omitted “roll

      call.”

49.   Instead, he was sent to staff the steps on Neptune Plaza, at the Library of Congress’s

      Jefferson Building, across the street from the East Front of the Capitol.

50.   By 7 a.m., Officer Blassingame could see that a large group of people was amassing on

      the plaza, directly in front of the East Front of the United States Capitol.




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51.   He said to his USCP colleague: “This isn’t going to be what they think it’s going to be.”

      Throughout the morning, Officer Blassingame was on “outside patrol” on the east side of

      First Street S.E., across from the Capitol building.

52.   Officer Hemby was assigned to the Civil Disturbance Unit, which was also unusual.

      There were no briefings about what he and his fellow officers should expect.

53.   The day immediately felt to Officer Hemby like it would be out of the norm, because of

      the number of people assembling.

54.   He was sent to his post in front of the Rotunda Steps on the East Front of the Capitol,

      behind bicycle racks set up to maintain a perimeter around the building. He was

      instructed only to make sure he and the other officers should “space out,” because they

      did not have enough coverage.

55.   Officer Hemby was used to seeing the plaza on the East Front of the Capitol wide open

      and mostly empty. The presence of small numbers of protestors was not a big concern or

      unusual, but this day, their number and aggressiveness were unprecedented in his

      experience.

56.   On January 6, a stage had been set up by the protesters, and the gathering crowd was

      shouting, singing, praying, swearing, and yelling. Among the more common chants he

      heard were “Stop the Steal,” and “Fight for Trump.”

57.   Someone had set up speakers, from which Officer Hemby could hear Trump’s speeches

      from prior dates being broadcast.

58.   Beginning at 7 a.m., speakers took to the stage at the Ellipse, just south of the White

      House, where thousands of protesters had gathered to listen. The rally was broadcast live

      on several news outlets, and could be watched streaming over the internet, and could



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      therefore be watched by those protesters who were not on the Ellipse itself, including

      those already near the Capitol. Numerous Trump allies spoke before Trump took the

      stage, all of whom repeated the message that the election had been stolen, that the

      country as they knew it was about to fall, and that it was up to the crowd to save the

      country, in the words of Trump’s personal attorney Rudy Giuliani, in a “trial by combat.”

59.   The rally at the ellipse was a private event, organized in part by Trump’s former

      campaign staff. As the Wall Street Journal reported, the event was “arranged and funded

      by a small group including a top Trump campaign fundraiser and donor facilitated by far-

      right show host Alex Jones.”

60.   Trump took the stage at noon on January 6, 2021. In an hour and fifteen-minute speech,

      Trump repeatedly claimed that the election had been “rigged” and “stolen,” and said:

      ● “They rigged it like they’ve never rigged an election before;”
      ● “We will never concede, it doesn’t happen. You don’t concede when there’s theft
        involved. Our country has had enough. We will not take it anymore and that’s what
        this is all about. To use a favorite term that all of you people really came up with, we
        will stop the steal;”

      ● “When you catch somebody in a fraud, you’re allowed to go by very different rules;”

      ● “You’ll never take back our country with weakness. You have to show strength, and
        you have to be strong;”

      ● “And we fight. We fight like hell. And if you don’t fight like hell, you’re not going to
        have a country anymore;”

      ● “And we’re going to the Capitol . . . . But we’re going to try and give our
        Republicans, the weak ones because the strong ones don’t need any of our help.
        We’re going to try and give them the kind of pride and boldness that they need to take
        back our country.”

61.   As he was making these remarks, Trump’s followers on the Ellipse began chanting “Fight

      like Hell,” and “Fight for Trump.” After he was done speaking, they changed to, “Storm

      the Capitol,” “Invade the Capitol Building,” and “Take the Capitol right now.”

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62.   At the Capitol, Officers Blassingame and Hemby watched the crowd swell on the east

      side of the Capitol.

63.   While Trump was speaking, at 12:49 p.m., Capitol Police responded to a report of a

      possible explosive device at the Republican National Committee Headquarters, which

      was later identified as a pipe bomb. Shortly afterward, a second pipe bomb was found at

      the headquarters of the Democratic National Committee. Both were three blocks from the

      Capitol.

64.   Both Officers Blassingame and Hemby heard the “10-100” radio call for the suspicious

      packages at the Republican and Democratic National Headquarters.

65.   As Trump concluded his speech near the White House, his followers who were already at

      the Capitol became insurrectionists. Thousands of them broke through police barricades

      and stormed up the steps of the Capitol on both fronts of the building, attacking and

      injuring police officers, including the Plaintiffs. The insurrectionists finally entered the

      Capitol itself, intent on committing further acts of violence against elected officials,

      where the insurrectionists continued to attack police officers. Many of these

      insurrectionists have since been charged with crimes.

66.   Some of these protesters broke through the outer perimeter of barricades west of the

      Capitol building while Trump was still speaking, at 12:53 p.m. By 1:03 p.m., they had

      pushed Capitol Police onto the west Capitol steps. Many of them wore Trump hats and

      shirts, waved Trump flags, and bore Trump insignia around their necks. As the

      insurrectionists began battling with police, one was overheard saying, “It’s us versus the

      cops!” A man yelled at police through a megaphone plastered with stickers from




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      “InfoWars,” a website operated by the right-wing conspiracy theorist Alex Jones, “You

      are traitors to the country!”

67.   At 1:00 p.m., Capitol Police Chief Steven Sund called for backup from the Metropolitan

      Police Department, which deployed approximately 100 officers to the Capitol grounds

      within minutes. Shortly thereafter, Chief Sund asked House Sergeant at Arms Paul Irving

      and Senate Sergeant at Arms Michael Stenger to declare an emergency and call for the

      deployment of the National Guard. Shortly after that, Officer Hemby could hear on his

      radio that crowds on the West Front of the Capitol were trying to push through the bike

      rack barriers and the officers posted there.

68.   The crowd on the East Front was growing throughout the 1 o’clock hour. Officer Hemby

      and other officers were spaced out along the line of bike racks, responding to protesters’

      periodic attempts to push through the bike racks.

69.   By 1:30 p.m., on the West Front of the Capitol, Capitol Police officers were forced by

      insurrectionists to the top of the Capitol steps. Meantime, Trump’s speech had ended, and

      many more thousands of protesters began marching toward the Capitol. About forty

      percent of the phones tracked near the rally stage on the National Mall during the

      speeches were found in and around the Capitol during the insurrection, showing that

      many of those who were listening to Trump’s speech followed his direction to march on

      the Capitol.

70.   At around 1:45 p.m., the insurrectionists overcame the Capitol Police officers protecting

      the Capitol’s west steps, and the officers pulled back into the Capitol itself.




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71.   Officer Blassingame had been called to the Capitol from his post across the plaza on the

      East Front and was inside the Capitol building when he heard on his radio that the West

      Front steps had been overtaken by the insurrectionists.

72.   Officer Blassingame looked out the west doors and was shocked to see that four of his

      colleagues were pinned to the doors by a large and surging crowd of aggressive people

      dressed in Trump and MAGA gear and hats and carrying large Trump campaign flags.

73.   Officer Hemby heard in real time on his radio when the officers on the West Front were

      overcome, and immediately after, just before 2 p.m., the crowd began to swell and surge

      on the East Front.

74.   Officer Hemby believed that more officers would come to help, but because the West

      Front had already been breached and officers were being attacked on that side of the

      Capitol, no one else was available.

75.   Officer Hemby looked to his left and saw that the crowd had broken through the barriers.

      A tidal wave of insurrectionists attacked the plaza steps, and due to the size and

      aggressiveness of the crowd, Officer Hemby and his colleagues were quickly

      outnumbered.

76.   As people dressed in Trump gear and carrying large Trump flags stormed through the

      barriers, Officer Hemby knew he and the other officers would be unable to hold them

      against the relentless pushing and shoving.

77.   Officer Hemby ran to the East Front stairs to try to stop the crowd, but it was too late, and

      the crowd was too large and aggressive.

78.   The crowd chased him and his fellow officers to the top of the stairs and forced them

      against the doors.



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79.     At 1:49 p.m.,1 after Trump had returned to the White House, and was reportedly watching

        on TV as events were unfolding at the Capitol, he tweeted out the entirety of his speech:




80.     At 1:59 p.m., insurrectionists pushed Capitol Police to the top of the east Capitol steps,

        and by 2:10 p.m., insurrectionists began attempting to break into the building through

        windows on the west side.

81.     The Proud Boys made up a large portion of the first wave of insurrectionists to breach the

        Capitol and assault Capitol Police. Proud Boys also took deliberate steps to prevent the

        Capitol Police from securing the Capitol against unlawful entrants. And Proud Boy

        Dominic Pezzola, who was one of the first rioters to gain entrance into the Capitol after



1
  On January 8, 2021, Twitter permanently suspended Donald Trump’s personal account, removing his tweets from
view. Publicly available archives of Trump’s tweets are limited and as a result, some of the images of Trump’s
tweets used in this Complaint, such as the one in this paragraph, feature timestamps from other than the Eastern
Time Zone.

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           he used a Capitol Police shield to break a window, stated on a video subsequently posted

           to social media: “Victory smoke in the Capitol, boys. This is fucking awesome. I knew

           we could take this motherfucker over [if we] just tried hard enough.”

82.        An FBI Special Agent later submitted an affidavit in support of a criminal complaint

           against Pezzola stating that Pezzola was part of a group that “said that anyone they got

           their hands on they would have killed, including Nancy Pelosi,” and that they “would

           have killed [Vice President] Mike Pence if given the chance.”2

83.        Officer Hemby was crushed against the doors on the east side trying to hold the

           insurrectionists back. Over and over, he tried to tell the insurrectionists that the doors

           opened outward and that pressing him into the door would do no good.

84.        But the insurrectionists continued to scream, “Fight for Trump,” “Stop the Steal,” and

           various other slogans, as they struck him with their fists and whatever they had in their

           hands. Things were being thrown at him, and he was sprayed with chemicals that irritated

           his eyes, skin, and throat.

85.        Some of the mob wore military-style tactical gear. One man had gloves with hard

           knuckles. One attacker dropped a knife, which a fellow officer kicked behind the officers

           and out of the insurrectionist’s reach.

86.        One insurrectionist screamed in Officer Hemby’s face that he was “disrespecting the

           badge,” and that the officers were “not patriots.”

87.        Eventually, the insurrectionists did get inside the Capitol from the East Front. For hours,

           as the grounds were cleared of Defendant’s followers, Officer Hemby continued to man

           his post at the top of the Rotunda steps outside the East Front of the Capitol. The



2
    (Brackets in original).

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      insurrectionists were demanding that Officer Hemby and his fellow officers get out of the

      way so the mob could get to the Congress members. They were trying to convince

      officers to join their side and fight against Congress. Officer Hemby and his fellow

      officers stood their ground.

88.   Officer Hemby was attacked relentlessly. He was bleeding from a cut located less than an

      inch from his eye. He had cuts and abrasions on his face and hands and his body was

      pinned against a large metal door, fending off attacks.

89.   His primary focus was to survive and simply get home.

90.   By 2:12 p.m., the insurrectionists entered the building through broken windows on both

      sides of the Capitol, opening up a door for additional insurrectionists to enter.

91.   Some of those who entered had guns. Some were in helmets and tactical gear. Many

      carried baseball bats, Trump flags, hockey sticks, fire extinguishers, stolen police shields,

      collapsible batons, and other weapons.

92.   Shortly thereafter, Vice President Pence was removed from the Senate chamber and the

      Senate was called into recess. Capitol Police confronted the insurrectionists but were

      greatly outnumbered. Outside the Capitol, the mob shouted, “Hang Mike Pence!” and had

      erected a gallows.

93.   Inside the Capitol, the insurrectionists continued to physically attack Capitol Police,

      while taunting them, saying, among other things, “You’re outnumbered. There’s a

      fucking million of us out there. And we are listening to Trump—your boss,” “We can

      take you out,” and, “We were invited here by the President of the United States.”

94.   As Officers James Blassingame and Sidney Hemby attempted to protect themselves from

      the insurrectionists, Trump watched the events unfold on live television. Those who were



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       with him claimed that Trump was “delighted” and was “confused about why other people

       on his team weren’t as excited as he was.” Others described Trump as “borderline

       enthusiastic” about the unfolding violence.

95.    Officer Blassingame and the small group of officers with him inside the Capitol were

       powerless to help the officers he could see on the other side of the doors, pinned to the

       West Front of the Capitol building.

96.    Officer Blassingame heard the call: “They’re coming through the windows!” and ran to

       the stairs to the Crypt area on the first floor, directly below the Rotunda.

97.    Inside the Crypt with a small group of USCP officers, Officer Blassingame looked north

       and saw a sea of people running toward him.

98.    The hallway to the north of the Crypt was a choking point, and as the crowd entered the

       Crypt, it quickly filled with insurrectionists.

99.    Officer Blassingame was one of just eight or nine officers facing the insurrectionists

       charging into the Crypt. The USCP officers tried to form a line against the

       insurrectionists but were dramatically outnumbered and overwhelmed as they became the

       targets of the mob’s attack.

100.   The insurrectionists were enraged and inflamed – chanting and shouting “Stop the Steal!”

       “We’re patriots!” “It’s our right!” and “Our House!”

101.   The insurrectionists were throwing items, and striking Officer Blassingame and the other

       USCP officers with their fists and weapons.

102.   Among the weapons Officer Blassingame could see were flagpoles like those he had seen

       on D Street early in the morning; water bottles; bottles of other unknown liquids; parts of




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       signs they were ripping from the walls of the Crypt and hallway; and flags, flagpoles, and

       rope-line posts that had been taken from the Crypt and other parts of the Capitol building.

103.   The insurrectionists were clad in and carrying Trump, QAnon, Proud Boys, and Oath

       Keepers-themed clothing, hats, and flags. Law enforcement investigations have since

       revealed that Jessica Marie Watkins, a member of the Oath Keepers, stated on an Oath

       Keeper communication channel during the insurrection that “We have a good group . . . .

       We are sticking together and sticking to the plan.”

104.   Foremost in Officer Blassingame’s mind was the terrifying certainty that the

       insurrectionists were interested in him and the other officers not going home to their

       families that night.

105.   The front line of insurrectionists was being pressed from behind by waves of newly

       arriving insurrectionists.

106.   Then a forceful surge of insurrectionists pushed forward and slammed Officer

       Blassingame against a stone column. He struck his spine and the back of his head and

       was unable to move.

107.   For the first time in his life, people were yelling into his face, calling him a “nigger”

       repeatedly and throughout the attack in the Crypt. He lost count of the many times the

       racial slur was hurled at him.

108.   Insurrectionists threatened him they would “fuck you up if you don’t get out of our way,”

       and to “get down or I’ll put you down.”

109.   The insurrectionists struck Officer Blassingame in his face, head, chest, arms, and what

       felt like every part of his body. Insurrectionists used their fists and had weapons that




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       ranged from flagpoles to stanchions and building directional signs, water bottles and

       other objects he could not identify.

110.   The threats and attacks on Officer Blassingame seemed endless.

111.   Officer Blassingame’s sole focus was to do what he could to survive.

112.   Eventually, he was able to unpin himself from the column and move toward the South

       hallway, where he thought there might be more officers. As he moved through the

       hallway, he tried to bring other officers with him.

113.   Once free from the insurrectionist mob, Officer Blassingame went toward Representative

       Steve Scalise’s office in the Capitol to assist the evacuation of members, which was

       being staged in the Ways and Means Committee meeting room.

114.   In a phone call to the White House, House Minority Leader Kevin McCarthy begged

       Trump to call off the insurrectionists, pleading with him that the rioters were all Trump

       followers. Trump refused to do so, and told McCarthy, “Well, Kevin, I guess these

       people are more upset about the election than you are.”

115.   Sen. Ben Sasse has stated that White House officials reported that Defendant Trump was

       “delighted” to hear of the Capitol break-in and further that he was excited that rioters

       were “pushing against Capitol Police trying to get into the building.”

116.   As Trump watched his followers (to whom he had lied when he told them that he would

       be joining them in walking to the Capitol) terrorize the Capitol and attack the police who

       guarded it, Trump’s advisors urged him to make a statement calling on his followers to

       stop. Trump chose not to condemn the attack. Instead, at 2:24 p.m., Trump tweeted, and

       further incited his followers against his own Vice President whose life was being

       threatened:



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117.   An insurrectionist at the Capitol read this tweet aloud from the steps of the Capitol.

       Insurrectionists then chanted, “Mike Pence is a traitor,” and continued their assault.

118.   Then, at 2:38 p.m., an hour after the first breach, Trump still chose not to call off the

       attack, but instead issued a banal statement of support for law enforcement, and stated,

       “stay peaceful” when he could see that his followers at the Capitol were anything but.




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119.   At around 2:44 p.m., Ashli Babbitt, an Air Force veteran and Trump follower, was shot

       and killed as she attempted to climb through a broken window in a set of locked doors

       that led to where House members were fleeing.

120.   Officer Blassingame was at the Ways and Means room and heard that gunshot upstairs.

       At the time, he did not have any idea who had been shot or had done the shooting. He did

       not know whether it was a singular event or the beginning of something even more

       dangerous than he had already faced.

121.   His reflexive reaction to the gunshot sent him further into “survival mode.” He rapidly

       assessed whether it would be necessary to draw guns. But even in the face of that reflex,

       he continued to help protect members of Congress who were sheltering in the Ways and

       Means room.

122.   He remained locked down in the Ways and Means room with members for hours, in a

       scenario that presented a different threat to his health and safety. Officer Blassingame

       was acutely aware that many in the Ways and Means room were neither masked nor

       socially distanced from Covid-19 transmission. He had no option but to remain in place.

123.   By 3:00 p.m., the District of Columbia local government issued a notice of an emergency

       citywide curfew to begin at 6 p.m.

124.   Meanwhile, Trump’s followers at the Capitol shouted, “We want Trump!” They attacked

       officers with rocks, bottles, fire extinguishers, metal poles, bear spray, and pepper spray.

       Officers reported being “flanked” and “los[ing] the line.” For hours, officers were forced

       into hand-to-hand combat to prevent more rioters from entering the Capitol.

125.   At 4:17 p.m., Trump tweeted a recorded video directed to his followers as they continued

       to ransack the Capitol. In the video, Trump told the insurrectionists, “I know your pain, I



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       know you’re hurt,” and repeated his “big lie” about the stolen election that had driven the

       insurrectionists to the Capitol in the first place. He then said to his followers who had

       invaded the Capitol, assaulted and severely injured police officers, destroyed property,

       and generally tried to overthrow the Congress as it carried out its duty of certifying a

       presidential election: “Go home. We love you. You’re very special.”

126.   At around 5:40 p.m., Capitol Police, with reinforcements from the Metropolitan Police

       and the National Guard, finally were able to begin to clear the Capitol. By that time, 140

       police officers were physically hurt, and many more would be emotionally scarred. One

       Capitol police officer suffered a fatal stroke linked to the events of January 6 and two

       others took their own lives shortly thereafter.

127.   After the world had just watched the insurrectionists attack police, threaten members of

       Congress, and destroy property within the Capitol, Trump explained the day’s events,

       once again reiterating his “big lie” and celebrating his followers’ actions:




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128.   At approximately 7 p.m., Trump’s agent Rudolph Giuliani attempted to leave a voicemail

       for Sen. Tuberville (but then left the voicemail in another Senator’s voicemail box, who

       then subsequently released the messaged to the press) requesting that Sen. Tuberville “try

       to just slow [the congressional vote] down . . . so that we can get ourselves into

       tomorrow.”

129.   At about 7:30 p.m., Officer Blassingame was finally able to leave the Ways and Means

       room.

130.   As he walked through the halls of the Capitol, the aerosol chemicals from the bear spray,

       pepper spray, and tear gas burned his eyes and throat. It was so strong, that even hours

       after he left the Capitol, he could taste it in his mouth.

131.   Throughout the dangerous and chaotic day, his family could see some of what was

       happening to Officer Blassingame in real time, but he was unable to communicate to

       comfort and reassure his wife and family in real time.

132.   It was not clear to him on January 6 that he would survive to make it home.

133.   He did finally get home at midnight, but only to return for a 7 a.m. shift the next morning,

       which would be the beginning of a month of twelve- to sixteen-hour shifts.

134.   Officer Blassingame suffered injuries to his head and back. He continues to have pain in

       his back, and the severe emotional toll the January 6 insurrection has taken on Officer

       Blassingame continues to reveal itself.

135.   He is haunted by the memory of being attacked, and of the sensory impacts—the sights,

       sounds, smells and even tastes of the attack remain close to the surface. He experiences

       guilt of being unable to help his colleagues who were simultaneously being attacked; and

       of surviving where other colleagues did not.



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136.   The weight on Officer Blassingame has been heavy and pervasive. He was not able to

       sleep and he could not talk about what happened, even with his wife and friends.

137.   He suffered from depression that he could not address because he was too consumed with

       a sense of obligation to continue on with his professional responsibilities. Because the

       attack happened in the place to which he reports daily, he is unable to avoid most of the

       triggers of his emotional reactions.

138.   Officer Hemby remained on the East Front of the Capitol until the complex was cleared

       of insurrectionists.

139.   He was unable to seek medical assistance until after 9 p.m.

140.   At first, Officer Hemby did not fully appreciate how physically and mentally exhausted

       he was.

141.   When he got home on the night of January 6, 2021, he was in a heightened emotional

       state and unable to sleep. He relived the moments he was under attack. He felt unsafe and

       each time he drifted off to sleep, he was awakened by the fear that people were trying to

       break into his home.

142.   As a result of the attack, Officer Hemby’s left hand and left knee became swollen and

       painful. He was sprayed in the face and body with chemical sprays. His back and neck

       ached, and his skin burned.

143.   Officer Hemby is under the care or an orthopedic medical specialist and receives physical

       therapy two to three days per week for his neck and back.

144.   He continues to sleep poorly and feels hyper-aware and on high alert during his waking

       hours.




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145.   Officer Hemby normally has a calm demeanor but has struggled to manage the emotional

       fallout from being relentlessly attacked. He has spoken with Employee Assistance

       Program counselors to talk about managing the emotional impact of being targeted and

       dealing with the level of aggression to which he was subjected.

146.   But for the fact that so many of his fellow officers were also injured and unable to report

       for duty, Officer Hemby would have used leave to recover from his injuries.

              F.      Lawmakers in the Capitol Recognized Trump as the Instigator of the
                      Attack

147.   In the aftermath of the January 6 insurrection, leaders within Trump’s own party publicly

       said that Trump’s “big lie” about the election and his provocation of his followers caused

       the January 6 insurrection.

       a.     In a February 18, 2021 statement, Sen. Mitt Romney (R-Utah) said, “I hear many

              calls for unity. It is apparent that calling for unity while at the same time

              appeasing the big lie of a stolen election is a fraud. It is the lie that caused the

              division. It is in the service of that lie that a mob invaded the Capitol on January

              6th.”

       b.     On January 12, 2021, Liz Cheney (R-Wyo.), the third highest ranking Republican

              in the House of Representatives, said, “The President of the United States

              summoned this mob, assembled the mob, and lit the flame of this attack.

              Everything that followed was his doing. None of this would have happened

              without the President. The President could have immediately and forcefully

              intervened to stop the violence. He did not. There has never been a greater

              betrayal by a President of the United States of his office and his oath to the

              Constitution.”


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       c.     On Feb. 13, 2021, Senator Mitch McConnell (R-Ky.) said:

              There’s no question, none, that President Trump is practically and morally
              responsible for provoking the events of the day.

              The people who stormed this building believed they were acting on the
              wishes and instructions of their president, and having that belief was a
              foreseeable consequence of the growing crescendo of false statements,
              conspiracy theories and reckless hyperbole which the defeated president
              kept shouting into the largest megaphone on planet Earth. He did not do his
              job. He didn’t take steps so federal law could be faithfully executed and
              order restored. No. Instead, according to public reports, he watched
              television happily – happily – as the chaos unfolded. Even after it was clear
              to any reasonable observer that Vice President Pence was in serious danger.

       McConnell also said:

              President Trump is still liable for everything he did while he was in office,
              as an ordinary citizen, unless the statute of limitations has run, still liable
              for everything he did while in office, didn't get away with anything yet –
              yet.

              We have a criminal justice system in this country. We have civil litigation.
              And former presidents are not immune from being held accountable by
              either one.

              G.      The Insurrectionists Have Since Stated They Stormed the Capitol at
                      Trump’s Direction

148.   Many of the rioters cited Trump’s words and conduct as the inspiration for their violent

       actions. For example, the day after the insurrection, Jacob Angeli Chansley (the “QAnon

       Shaman”) called the FBI to tell them that “he came as a part of a group effort, with other

       ‘patriots’ from Arizona, at the request of the President that all ‘patriots’ come to D.C. on

       January 6, 2021.” Later, Chansley’s lawyer Al Watkins said in an interview, “Let’s roll

       the tape. Let’s roll the months of lies, and misrepresentations and horrific innuendo and

       hyperbolic speech by our president designed to inflame, enrage, motivate . . . What’s

       really curious is the reality that our president, as a matter of public record, invited these



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       individuals, as president, to walk down to the Capitol with him.” He also said that

       Chansley “regrets very much having . . . just been duped by the president.”

149.   Attorneys for Proud Boys member William Chrestman, said in court papers that Trump

       gave the mob “explicit permission and encouragement” to do what they did, providing

       those who obeyed him with “a viable defense against criminal liability.” They further

       stated on Chrestman’s behalf, “It is an astounding thing to imagine storming the United

       States Capitol with sticks and flags and bear spray, arrayed against armed and highly

       trained law enforcement. Only someone who thought they had an official endorsement

       would even attempt such a thing. And a Proud Boy who had been paying attention would

       very much believe he did.”

       IV.     LIABILITY

                                          COUNT ONE
                                 (Directing Assault and Battery)

150.   James Blassingame and Sidney Hemby adopt and incorporate the prior paragraphs as if

       set forth fully herein and further state:

151.   Through his words and conduct described herein, Defendant, Donald J. Trump, directed

       and ratified the intentional torts of assault and battery committed by his followers on

       James Blassingame and Sidney Hemby.

152.   As the leader of this violent mob, who took their cues from his campaign rhetoric and

       personal Tweets and traveled from around the country to the nation’s capital at Trump’s

       invitation for the January 6 rally, Trump was in a position of extraordinary influence over

       his followers, who committed assault and battery on James Blassingame and Sidney

       Hemby.




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153.   Trump, by his words and conduct, directed the mob that stormed the Capitol and

       assaulted and battered James Blassingame and Sidney Hemby.

154.   For several hours after the mob had stormed the Capitol, Trump had the continuing

       ability to issue statements through traditional media and his personal Twitter account but

       refused to communicate anything to his followers that might discourage their relentless

       assault and battery on James Blassingame and Sidney Hemby and their fellow officers at

       the Capitol. Trump thereby ratified the conduct of his followers and ensured that the

       assaults on the Plaintiffs and fellow officers would last much longer, worsening the

       physical and emotional injuries of the Plaintiffs and other officers.

155.   When he finally did make statements late in the afternoon, Trump further ratified the

       tortious conduct when he again said that the election had been stolen by fraud, and that

       his followers had every reason to be angry, and by announcing support, praise and love

       for his followers.

156.   It appeared to James Blassingame and Sidney Hemby that Trump’s followers then had

       the ability to carry out the harmful and offensive contact.

157.   The words and conduct of Trump’s followers caused James Blassingame and Sidney

       Hemby to fear imminent physical harm.

158.   Trump’s followers committed battery, and unlawfully and intentionally touched and used

       force on Plaintiffs in a harmful, offensive, and insulting way.

159.   Trump’s followers directly contacted, struck, put into motion objects that directly hit

       James Blassingame and Sidney Hemby, and sprayed them with chemical agents that

       burned their exposed eyes, face, and body.




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160.   James Blassingame and Sidney Hemby suffered physical injuries because of the batteries

       to which they were subjected.

161.   Had Trump committed directly the conduct committed by his followers, it would have

       subjected Trump to direct liability.

162.   The unlawful and intentional acts that Defendant directed his followers to commit on

       January 6, 2021, were a direct and proximate cause of James Blassingame and Sidney

       Hemby’s injuries, pain, suffering, and other damages.

                                        COUNT TWO
                           (Aiding and Abetting Assault and Battery)

163.   James Blassingame and Sidney Hemby adopt and incorporate the prior paragraphs as if

       set forth fully herein and further state:

164.   Through his words and conduct described throughout this Complaint, Defendant, Donald

       J. Trump, aided and abetted the intentional torts of assault and battery committed by his

       followers on James Blassingame and Sidney Hemby, as described in Count One.

165.   Trump aided and abetted his followers’ assault and battery on James Blassingame and

       Sidney Hemby through his suggestive words and encouragement leading up to and on

       January 6, 2021, which were spoken from his position of the leader of a powerful

       political movement, including a private militia that was expressly “standing by” for his

       call to action, and gave his message extra weight.

166.   Trump’s words and encouragement leading up to and on January 6, 2021, created a

       foreseeable risk of harm to James Blassingame and Sidney Hemby.

167.   Had Trump committed directly the conduct committed by his followers, it would have

       subjected Trump to direct liability.




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168.   The unlawful and intentional acts that Trump aided and abetted his followers to commit

       on January 6, 2021, were a direct and proximate cause of James Blassingame and Sidney

       Hemby’s injuries, pain, suffering, and other damages.

                                      COUNT THREE
                   (Directing Intentional Infliction of Emotional Distress)

169.   James Blassingame adopts and incorporates the prior paragraphs as if set forth fully

       herein and further states:

170.   Through his words and conduct described herein, Defendant, Donald J. Trump, directed

       the Intentional Infliction of Emotional Distress committed by his followers on James

       Blassingame.

171.   Defendant further committed the intentional tort of Intentional Infliction of Emotional

       Distress, by his ratification of his followers’ words and conduct directed at James

       Blassingame as described herein.

172.   Trump’s followers engaged in conduct that was extreme and outrageous, and so beyond

       the bounds of decency that it is regarded as atrocious and utterly intolerable in a civilized

       society.

173.   In the United States Capitol Crypt, Trump’s followers hurled racial slurs and threatened

       James Blassingame, calling him a “nigger” more times than he could count, while he was

       under direct attack.

174.   This extreme and outrageous conduct was intended to cause James Blassingame’s

       emotional distress or was carried out with reckless disregard of whether the conduct

       would cause James Blassingame to suffer emotional distress.

175.   As a result of this extreme and outrageous conduct, James Blassingame suffered severe

       emotional distress. He feared for his life and worried he would not be able to return home

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       to his family that night, has had sleepless nights, and relives the extreme and outrageous

       conduct to which he was subjected on January 6, 2021.

176.   Defendant’s refusal to condemn his followers’ conduct for several hours, even as their

       extreme and outrageous conduct was being broadcast in real time, was a ratification of

       that conduct.

177.   Defendant further ratified the conduct when he announced support, praise and even love

       for his followers, and repeated that they had every reason to be angry and that the

       election had been stolen by fraud.

178.   The Defendant is liable for the severe emotional distress that was intentionally inflicted

       on James Blassingame as if he had committed the conduct himself.

179.   For all these reasons, the Defendant is liable to James Blassingame for intentional

       infliction of emotional distress and for all damages arising therefrom.

                                      COUNT FOUR
       (Violation of a Public Safety Statute: D.C. Code § 22-1322 – Inciting to Riot)

180.   James Blassingame and Sidney Hemby adopt and incorporate the prior paragraphs as if

       set forth fully herein and further state:

181.   Defendant, Donald J. Trump, is per se liable for his violation of two District of Columbia

       public safety statutes on January 6, 2021.

182.   D.C. Code § 22-1322(b) makes it a criminal offense to willfully incite or urge other

       persons to engage in a riot.

183.   The statute defines a “riot” as “a public disturbance involving an assemblage of 5 or more

       persons which by tumultuous and violent conduct or the threat thereof creates grave

       danger of damage or injury to property or persons.” D.C. Code § 22-1322(a).




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184.   D.C. Code § 22-1322 was enacted to protect public safety officials and others from

       violence caused by rioting.

185.   Through his words in the months during the 2020 presidential election and speaking from

       his position as the leader of a powerful political movement, including a private militia

       that was expressly “standing by,” Trump planted the seeds to create a public disturbance

       which by tumultuous and violent conduct or the threat thereof would create grave danger

       or injury to property and persons.

186.   More particularly, on the morning of January 6, 2021, Trump addressed his followers at

       the rally at the Ellipse, and explicitly directed them to march to the Capitol.

187.   Defendant’s followers, already primed by his months of inflammatory rhetoric, were

       spurred to direct action.

188.   Defendant’s words and conduct violated D.C. Code §§ 22-1322(b) and were a cause of

       tumultuous and violent conduct that created grave danger of damage or injury to property

       or persons, including James Blassingame and Sidney Hemby.

189.   Defendant, by violating this statute, is liable per se and thereby liable for James

       Blassingame and Sidney Hemby’s injuries and damages.

                                      COUNT FIVE
                           (Violation of a Public Safety Statute:
              D.C. Code § 22-1321 (a)(1), (a)(2), and (b) – Disorderly Conduct)

190.   James Blassingame and Sidney Hemby adopt and incorporate the prior paragraphs as if

       set forth fully herein and further state:

191.   Defendant, Donald J. Trump, is per se liable for his violation of two District of Columbia

       public safety statutes on January 6, 2021.




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192.   On January 6, 2021, there was in effect in the District of Columbia a statute that was

       enacted to protect James Blassingame and Sidney Hemby and persons in their position,

       and to prevent the type of events that are described herein.

193.   D.C. Code § 22-1321 (a)(1) makes it unlawful, in any place open to the general public,

       for a person to intentionally or recklessly act in such a manner as to cause another person

       to be in reasonable fear that a person is likely to be harmed.

194.   D.C. Code § 22-1321 (a)(2) makes it unlawful, in any place open to the general public,

       for a person to incite or provoke violence where there is a likelihood that such violence

       will ensue.

195.   D.C. Code § 22-1321(b) makes it unlawful “for a person to engage in loud, threatening,

       or abusive language, or disruptive conduct, with the intent and effect of impeding or

       disrupting the orderly conduct of a lawful public gathering.”

196.   James Blassingame and Sidney Hemby are among the members of the class that the

       statute was enacted to protect.

197.   Through his words in the months following the 2020 presidential election and speaking

       from his position as the leader of a powerful political movement, including a private

       militia that was expressly “standing by,” Defendant planted the seeds that made likely the

       violence that was unleashed on James Blassingame and Sidney Hemby on January 6,

       2021.

198.   Defendant repeatedly asserted that he and his followers were victims of a massive fraud

       and conspiracy that had resulted in the theft of the 2020 Presidential election.

199.   More particularly, on the morning of January 6, 2021, Defendant addressed his followers

       at the Ellipse, and explicitly directed them to march to the Capitol.



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200.   Defendant’s words, when he spoke them, were words likely to produce violence in

       others.

201.   Defendant’s followers, already primed by his months of inflammatory rhetoric, were

       spurred to direct action.

202.   By directing his followers as he did leading up to and on January 6, 2021, Defendant

       intentionally and recklessly acted in such a manner as to cause James Blassingame and

       Sidney Hemby to be in reasonable fear that they were likely to be harmed.

203.   Defendant’s provocative words and actions leading up to and on January 6, 2021, were

       likely to incite and provoke violence in others and did in fact incite and provoke violence

       directed at James Blassingame and Sidney Hemby.

204.   Defendant’s loud, threatening, and abusive language and conduct leading up to and on

       January 6, 2021, were intended to and did impede and disrupt the orderly conduct of the

       lawful public gathering to count the certified electoral votes to declare Joe Biden the

       winner of the 2020 presidential election.

205.   Defendant’s words and conduct in the months before and on January 6, 2021, violated

       D.C. Code § 1321 and were a cause of the violence that ensued in places in the District of

       Columbia open to the general public.

206.   Defendant’s violation of D.C. Code § 1321 caused severe injury and damages to James

       Blassingame and Sidney Hemby.

207.   Defendant, by violating this statute, is per se liable for James Blassingame and Sidney

       Hemby’s injuries and damages.




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                                          COUNT SIX
                                       (Punitive Damages)

208.   James Blassingame and Sidney Hemby adopt and incorporate the prior paragraphs as if

       set forth fully herein.

209.   Trump’s words and conduct leading up to and on January 6, 2021, and his ratification

       through silence when words and action were necessary, and his further ratification by

       direct praise of the rioters, as set forth herein, demonstrated a willful and wanton

       disregard for and a reckless indifference to James Blassingame and Sidney Hemby’s

       safety and that of their fellow officers.

210.   Trump’s words and conduct leading up to and on January 6, 2021, were intentionally

       tortious and in violation of federal and D.C. statutes.

211.   His words and conduct gave direction to and aided and abetted his followers in the

       commission of intentional torts of assault, battery, and intentional infliction of emotional

       distress that caused injury to James Blassingame and Sidney Hemby.

212.   Those words and conduct incited the riot and disorderly conduct in violation of D.C. law

       on January 6, 2021, that caused injury to James Blassingame and Sidney Hemby.

       Accordingly, James Blassingame and Sidney Hemby request punitive damages in an

       amount consistent with the evidence to be shown at trial against Trump to punish him for

       his intentional and wanton and reckless conduct, and to deter others from engaging in

       similar behavior.

                                       COUNT SEVEN
                        (Conspiracy in Violation of 42 U.S.C. §1985(1))

213.   James Blassingame and Sidney Hemby adopt and incorporate the prior paragraphs as if

       set forth fully herein.



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214.   The Reconstruction-era law known as the Ku Klux Klan Act, 42 U.S.C. §1985(1)

       “Preventing Officer from Performing Duties,” defines conspiracy to interfere with civil

       rights:

                 If two or more persons in any State or Territory conspire to prevent, by
                 force, intimidation, or threat, any person from accepting or holding any
                 office, trust, or place of confidence under the United States, or from
                 discharging any duties thereof; or to induce by like means any officer of the
                 United States to leave any State, district, or place, where his duties as an
                 officer are required to be performed, or to injure him in his person or
                 property on account of his lawful discharge of the duties of his office, or
                 while engaged in the lawful discharge thereof, or to injure his property so
                 as to molest, interrupt, hinder, or impede him in the discharge of his official
                 duties[.]

215.   Under 42 U.S.C. §1985(3):

                 [I]f one or more persons engaged therein do, or cause to be done, any act in
                 furtherance of the object of such conspiracy, whereby another is injured in
                 his person or property, or deprived of having and exercising any right or
                 privilege of a citizen of the United States, the party so injured or deprived
                 may have an action for the recovery of damages occasioned by such injury
                 or deprivation, against any one or more of the conspirators.

216.   On information and belief, Defendant Trump agreed and conspired with his followers to

       stage an attack on the Capitol to prevent Congress and Vice President Mike Pence, by

       force, intimidation, or threat, from discharging their duties of certifying the winners of

       the 2020 presidential election. Trump and his followers further agreed and conspired to

       prevent, by force, intimidation, or threat, Joseph Biden and Kamala Harris from accepting

       and/or holding their respective offices as President and Vice President.

217.   As described more fully above, communications between the co-conspirators began as

       early as September 2020. The Proud Boys were then “standing by” on December 19,

       when Defendant Trump publicized the “Stop the Steal” Rally, and called for attendees to

       “be there” as it “will be wild!”.



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218.   The Proud Boys, Oath Keepers, and other militia members then took overt acts in

       furtherance of a conspiracy to—in the words of Oath Keeper Kelly Meggs—“work

       together and shut this shit down.” “[S]hut this shit down” referred to a plan to accomplish

       the objective of a Section 1985(1) conspiracy—using force, intimidation, and threats to

       prevent Congress and Vice President Mike Pence from discharging their duties of

       certifying the winners of the 2020 presidential election as well as using force,

       intimidation, and threats to prevent Joseph Biden and Kamala Harris from accepting

       and/or holding their respective offices as President and Vice President.

219.   Members of the conspiracy engaged in multiple meetings directed at accomplishing the

       object of the conspiracy; obtained paramilitary gear and supplies included tactical vests,

       protective equipment, and radio equipment; and took steps to remain incognito and mask

       their participation in the conspiracy.

220.   When the militia conspirators converged on the District of Columbia, Defendant Trump

       knowingly gave a speech urging them, among other things, that “when you catch

       someone in a fraud, you’re allowed to go by very different rules” and “if you don’t fight

       like hell, you’re not going to have a country anymore,” the natural and probable

       consequence of which would be to lead the mob to storm the Capitol and accomplish the

       objective of a Section 1985(1) conspiracy—using force, intimidation, and threats to

       prevent Congress and Vice President Mike Pence from discharging their duties of

       certifying the winners of the 2020 presidential election as well as using force,

       intimidation, and threats to prevent Joseph Biden and Kamala Harris from accepting

       and/or holding their respective offices as President and Vice President.




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221.   On information and belief, Defendant Trump intended the natural and probable

       consequences of the act he knowingly did, namely the use of force, intimidation, and

       threats to prevent Congress and Vice President Mike Pence from discharging their duties

       of certifying the winners of the 2020 presidential election as well as the use of force,

       intimidation, and threats to prevent Joseph Biden and Kamala Harris from accepting

       and/or holding their respective offices as President and Vice President. That intent, and

       approval of the events of January 6th, is further confirmed by, among other things, his

       delight when hearing of the Capitol break-in as well as his excitement that militia

       members were pushing against Capitol Police trying to get into the Capitol Building.

222.   When Proud Boy Dominic Pezzola stated that he knew that the Proud Boys could “take

       this motherfucker over [if we] just tried hard enough,” he was referring to a common plan

       to accomplish the objective of a Section 1985(1) conspiracy—using force, intimidation,

       and threats to prevent Congress and Vice President Mike Pence from discharging their

       duties of certifying the winners of the 2020 presidential election as well as using force,

       intimidation, and threats to prevent Joseph Biden and Kamala Harris from accepting

       and/or holding their respective offices as President and Vice President.

223.   When Jessica Marie Watkins, a member of the Oath Keepers, stated on an Oath Keeper

       communication channel that “We have a good group . . . . We are sticking together and

       sticking to the plan,” she was referring to a plan to accomplish the objective of a Section

       1985(1) conspiracy—using force, intimidation, and threats to prevent Congress and Vice

       President Mike Pence from discharging their duties of certifying the winners of the 2020

       presidential election as well as using force, intimidation, and threats to prevent Joseph




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       Biden and Kamala Harris from accepting and/or holding their respective offices as

       President and Vice President.

224.   In leading an attack on the Capitol, the Defendant Trump’s co-conspirators took overt

       acts in furtherance of their conspiracy with Defendant Trump. Those overt acts caused

       James Blassingame and Sidney Hemby to suffer severe injuries.

                                      COUNT EIGHT
                       (Civil Conspiracy in Violation of Common Law)

225.   James Blassingame and Sidney Hemby adopt and incorporate the prior paragraphs as if

       set forth fully herein.

226.   As described above, Defendant Trump conspired with the Proud Boys and others to,

       among other things, incite an unlawful riot on January 6 with the goal of disrupting

       congressional certification of President Biden’s electoral victory.

227.   In furtherance of that conspiracy, one or more conspirators engaged in a riot and stormed

       the Capitol on January 6.

228.   As a direct, proximate, and foreseeable result of that conspiracy, James Blassingame and

       Sidney Hemby suffered severe injuries.

       V.      PRAYER FOR RELIEF

       WHEREFORE, James Blassingame and Sidney Hemby demand an award of the

following relief:

       a.      Judgment against Donald J. Trump on all Counts set forth herein;

       b.      Compensatory damages in an amount consistent with the evidence to be shown at

               trial, in excess of $75,000 for each of them, plus interest and costs;

       c.      Punitive damages in an amount consistent with the evidence to be shown at trial,

               plus interest and costs;


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d.   Costs and reasonable attorney’s fees pursuant to 42 U.S.C. § 1988, and

e.   Such other relief as the Court and jury deem necessary and just.


                                   Respectfully submitted,

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                                JURY DEMAND

The Plaintiffs demand trial by jury.

                                       /s/ Patrick A. Malone
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